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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


 DISPLAY TECHNOLOGIES, LLC,

         Plaintiff,

 v.                                              No: 6:22-cv-00516-ADA

 NISSAN NORTH AMERICA, INC.,

         Defendant.



     NOTICE OF STIPULATION CONCERNING EXTENSION OF TIME FOR
   DEFENDANT NISSAN NORTH AMERICA, INC. TO ANSWER OR OTHERWISE
                      RESPOND TO COMPLAINT

        Pursuant to the Court’s standing Order Regarding Joint or Unopposed Request to Change

Deadlines dated March 7, 2022, Defendant Nissan North America, Inc., hereby notifies the Court

that Defendant has requested, and Plaintiff is unopposed, to an extension of time to October 28,

2022, to answer or otherwise respond to Plaintiff Display Technologies LLC's Original

Complaint.

        Defendant's deadline to answer or otherwise respond to the Complaint is currently

September 16, 2022, and the extension would move that deadline to October 28, 2022.
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                                         Respectfully submitted,

Dated: September 16, 2022                By: /s/ Mark G. Davis
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